                UNITED STATES DISTRICT COURT FOR THE
                    EASTERN DISTRICT OF TENNESSEE
                          AT GREENEVILLE



 MARK A. SCOTT and PAUL E.                     )
 SCOTT                                         )
                                               )
 v.                                            )             NO. 2:08-CV-296
                                               )
 REGIONS BANK, ET AL.                          )


                                     ORDER

              This matter is before the Court to consider the Report and

 Recommendation of the United States Magistrate Judge, [Doc. 150], dated January 28,

 2009. In that Report and Recommendation the magistrate judge recommends that

 Defendants Helen Scott and Andrea LaFollette’s Motion to Strike pursuant to Rule

 12(f) be denied with prejudice and their Motion to Strike pursuant to Rule 9(b) be

 denied without prejudice, [Doc. 114]. The defendants have filed no objections to this

 report and recommendation.

              After careful consideration of the record as a whole, and after careful

 consideration of the Report and Recommendation of the United States Magistrate

 Judge, and for the reasons set out in that Report and Recommendation, which are

 incorporated by reference herein, it is hereby ORDERED that this Report and




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 Recommendation is ADOPTED and APPROVED, [Doc. 150], and that Defendants’

 Motion to Strike pursuant to Rule 12(f) is DENIED with prejudice and their Motion

 to Strike pursuant to Rule 9(b) is DENIED without prejudice, [Doc. 114].

             ENTER:


                                                   s/J. RONNIE GREER
                                              UNITED STATES DISTRICT JUDGE




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